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AO91 (Rev. 8/01) Criminal Complaint Unlhd Shf” bd§%ls_rtxrato Cour\

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UNITED sTATEs DISTRICT CoURT JULHM DF

 

SOUTHERN DISTRICT OF TEXAS MJ. griggs clerk
UNITED STATES OF AMERICA CRIMINAL COMPLAINT
V.
Ramon vALDEZ ease Number, 5 _' 15 mJ ll 03 - 1
FPD

$ 75,000 C/S; Pre|im Hrg at 10 a_m_ on
(Name and Address of Defendant) AUG 1 ~ 2015

I, the undersigned complainant state that the following is true and correct to the best of my

 

knowledge and belief. On or about Jul! 27, 2015 in Webb County, in
the Southem District of Texas Ramon VALDEZ defendant(s),

 

A citizen of Mexico, who has previously been REMOVED or has departed the United States while an order of
REMOVAL is outstanding was thereafter found in the United States near Laredo, Texas the said Defendant having not
obtained the consent of the Attomey General of the United States (prior to March 1, 2003) or of the Secretary of the Department
of Homeland Security (March 1, 2003 and thereafter- Title 6, United States Code, Sections 202 and 557) for the reapplication by
the said Defendant for admission into the United States

in violation of Title(s) 8 United States Code, Section(s) 1326
I further state that I am a(n)` Border Patrol Agent and that this complaint is based on the

 

 

following facts: Based on statements of the accused and records of the U.S. Department of Homeland Security.

Ramon VALDEZ was apprehended near Laredo, Texas. After a brief interview it was determined that,

Ramon VALDEZ was an undocumented alien from Mexico and subsequently placed under arrest. Further
investigation revealed that Ramon VALDEZ was previously REMOVED from the United States on March 2,
2006 at San Ysidro, Califomia. There is no record that Ramon VALDEZ has applied for or received
permission from the Attomey General or the Secretary of Homeland Security to re-enter the United States after deportation

Continued on the attached sheet and made a part of this complaint: |:\ Yes g No

   

, l /\plainant
ardenas

 

 

 

Victo
Printed Name of Complainant
Swom to before me and signed in my presence, 4 j
July 31, 2015 at Laredo, Texas /,
Date City and State
MZ`/_\”
J. Hacker , U.S. Magistrate Judge

 

 

Name and Title of Judicial Officer Signatur%al Cficer

 

